                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
GEORGE PERROT,                            )
                  Plaintiff,              )
                                          )
v.                                        )
                                          )
THOMAS KELLY, THOMAS JARVIS,              )
RICHARD KANE, CHARLES ARPIN, JOHN         )
SCANLON, DAVID LOUDEN, THOMAS             )
KENNEDY, PAUL LANCE, CHIEF ERNEST         )
STELZER, MARIANNE POPKO, PAUL             )              C.A. NO.: 1:18-cv-10147-DPW
GLANTZ, RONALD ST. GERMAN, ANDREW )
CANEVARI, CHERYL CLAPPROOD, CAPTAIN )
JOHN BROWN, UNKNOWN OFFICERS OF           )
THE SPRINGFIELD POLICE DEPARTMENT, )
FRANCIS BLOOM, WILLIAM EUBANKS,           )
WAYNE OAKES AND UNKNOWN AGENTS            )
OF THE FEDERAL BUREAU OF                  )
INVESTIGATION                             )
                  Defendants              )
__________________________________________)


                                      APPEARANCE

        Please enter my appearance on behalf of Defendant Thomas Kennedy, in the above-

entitled action.

                                                  Respectfully submitted,
                                                  Defendant Thomas Kennedy
                                                  by his attorney:

Dated: March 1, 2023                              /s/ Robert A. Schmidt
                                                  Robert A. Schmidt, Esq. BBO#666905
                                                  City of Springfield Law Department
                                                  1600 E. Columbus Ave., 2nd Floor
                                                  Springfield, MA 01103
                                                  Tel: (413) 787-6085
                                                  rschmidt@springfieldcityhall.com
                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true copy of the within Appearance was served
upon the Plaintiffs and all parties via the Federal Court’s ECF Notice and Delivery System. I am
not aware of any party who is a non-registered participant, and therefore electronic filing is the
sole means of service of this document.

       Signed under the pains and penalties of perjury.

Dated: March 1, 2023                                /s/ Robert A. Schmidt
                                                    Robert A. Schmidt, Esq.




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